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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

--------------------------------------x
                                             Case No. 09-51286
In the Matter of

           IRINIA CHATKHAN                               Chapter 11

                     Debtor
--------------------------------------X Adv. No.
IRINA CHATKHAN

                              Plaintiff,

Vs.



ROMAN NAROVLIANSKI

SEMYON GUTARTS

MAGIC LAND CAPITAL LLC

C/O MAGIC LAND CAPITAL LLC
3603 QUENTIN ROAD
BROOKLYN, NEW YORK 11234

                     Defendants.
--------------------------------------X Jury Trial
                                        Demanded.


                             COMPLAINT


                      I.   PRELIMINARY STATEMENT




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      1.    This is an action brought by no-income homeowner against brokers
and its agents and owners, plus lender and their owners with whom she
unknowingly entered into an exorbitantly priced mortgage loan. Plaintiff seek
rescission and statutory damages under the Home Ownership and Equity
Protection Act of 1994 (hereinafter “HOEPA”), 15 U.S.C. §§ 1602(aa) and 1639,
and the Truth in Lending Act, 15 U.S.C. § 1601 et seq. and § 1640(a) along with
redress for breach of oral contract, breach of Implied Covenant of Good Faith
and Fair Dealing, breach of fiduciary duty,’ Conspiracy to defraud, Intentional
Misrepresentation, Violation of General Business Laws §349 of New York, Unjust
Enrichment and Imposition of Constructive Trust.


                        II. JURISDICTION AND VENUE


      2. Jurisdiction of this Court exists pursuant to 15 U.S.C. § 1640(e) as to
claims under HOEPA and the Truth in Lending Act (“TILA”) and to the State and
other common law remedies under 28 U.S.C. § 1367 for pendent state claims.
This Court has jurisdiction to render the declaratory judgment Plaintiffs seek
pursuant to 28 U.S.C. § 2201 and Federal Rules of Bankruptcy Procedure 7001.


      3. Venue lies in this District pursuant to 28 U.S.C. § 1391(b).


                                   III. PARTIES


      4. Plaintiff Irina Chatkhan (“Irina”) homeowner is a natural persons who
reside at 1311 Brightwater Avenue Apt 18 I&J Brooklyn, 11235 New York .


      5. Defendant Roman Narovlianski (“Roman”) is an agent, owner of Magic
Land Capital LLC (“Magic”) actively involved in the business of brokering and or
lending monies to consumers. Defendant Semyon Gutarts (“Semyon”), is an
agent and or owner of Magic, actively involved in the business of lending monies
brokering mortgage deals to consumers. Defendant Magic is a corporation which



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conducts, brokers, helps consumer loan operations in New York State through its
offices located at 3603 Quentin Road, Brooklyn New York 11234.


      6. At all relevant times, Magic working as a broker originated one or more
HOEPA loans. And further, it regularly extended consumer credit payable by
written agreement in more than four installments and for which a finance charge
is imposed. Defendants, individually or collectively are creditors in HOEPA
context.


                         IV. FACTUAL ALLEGATIONS


    A. FACTS PERTAINING TO MAGIC’S SOLICITATION OF PLAINTIFF


      7. Plaintiff is an unemployed homeowner and is totally dependant on her
husband for all her needs.


      8. Plaintiffs owns a home at 1311 Brightwater Avenue Apt 18 I&J
Brooklyn, 11235 New York , which is her principal dwelling. Until the transaction
with Defendants, the home was not subject to any mortgage. The property was
free and clear of any liens or encumbrances.


      9. In month of August, 2007, Plaintiff looking for some financial help,
contacted Magic, the mortgage broker and lender. There Roman and Semyon
assured her that she could be granted a help and that their company could help
her get a good loan to elevate her financial predicament. Plaintiff requested
them for a best possible loan so that she could easily make payments to the
Coop Board and run her household and take care of her obligations and service
her debt.




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        10. On September 27, 2007, the date of settlement, Plaintiff entered into
a consumer credit transaction with Roman and Semyon being brokered by
Magic in which defendants extended consumer credit which was to be paid in
more than four installments and which was initially payable to defendant Roman
and Semyon.


        11. As part of this consumer credit transaction, Roman and Semyon
acquired a security interest, namely a mortgage, in 1311 Brightwater Avenue Apt
14 I & J Brooklyn, 11235 New York., which is used as the principal dwelling of
the Plaintiff.


        12. As a result of this transction, the principal amount of the new loan was
$650,000 and the payments were $7,312.50 per month for 12 months, with a
disclosed annual percentage rate of 13.5% and an additional payment of $6500.
The entire loan was to be paid back with a balloon payment of $650,000 after 12
months.


        13. Plaintiffs’ monthly income is zero. Their total monthly payment owing
to defendants Roman and Semyor under the loan transaction is an amount in
excess of her ability to pay. Accordingly, the plaintiff could not pay back the
balloon payment and had to ask for extension of loan payment for one year. The
extension was sought with an additional sum of $6,500. The plaintiff with the
help of family member continued to make the interest only payment and was
punished by the lender with late payment fees and attorneys fees.


        14. Pursuant to this transaction, Plaintiff have paid Roman and Semyor a
sum of $7,312.50 (interest only) each month for more than 26 months in
payments and twice a sum of $6,500 for fees and more than $3,000 as attorneys
fees.




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      B. FACTS PERTAINING TO DISCLOSURES AND TERMS OF THE
                                  TRANSACTION


       16. The above-mentioned consumer credit transaction was a high rate
mortgage within the meaning of HOEPA, 15 U.S.C. § 1602(aa)(1)(B), or in that
the annual percentage rate at consummation of the transaction exceeded by
more than 8 percentage points the yield on Treasury securities having
comparable periods of maturity on the 15th day of the month immediately
preceding the month in which Magic received Plaintiffs’ credit application.


       17. Upon information and belief, Magic and its owners/agents Roman and
Semyon has engaged in a pattern or practice of extending credit to consumers
under high rate mortgages, as defined by 15 U.S.C. § 1602(aa), based on the
consumer’s collateral without regard to the consumers’ repayment ability,
including their current and expected income, current obligations and
employment, in violation of 15 U.S.C. § 1639(h).


       18. Plaintiff believe and therefore aver that the defendants required or
induced her to borrow substantially more money than she was seeking, and in an
amount beyond their ability to repay, based primarily on Magic’s evaluation of the
amount of Plaintiffs’ equity in their homes. Defendants illegally, maliciously and
wrongfully conspired with one another with the intent to and with the purpose of
inducing Plaintiff to enter into this mortgage benefit which had little or no benefit
to her.The civil conspiracy resulted in damaging the plaintiff including but not
limited to increased finance charges, excessive loan expenses and interest rates,
loss of other credit opportunities, and other costs.




       19. Because the transaction described herein met the HOEPA definition
of a high rate mortgage, the transaction was subject to additional disclosure




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requirements that must be provided three days in advance of the consummation
of the transaction. 15 U.S.C. § 1639(b).


        20. Defendants did not furnish the required HOEPA disclosures to
Plaintiffs three days prior to their settlement and then it did not provide revised
advance disclosures 3 days prior to settlement along with other omissions; it
failed to print the warnings in conspicuous type size; it included the note rate
along with the APR to detract from or overshadow the APR disclosure; it failed to
disclose a balloon payment as required by Official Staff Commentary §
226.32(c)(3)-2


        21. The loan extended to Plaintiffs includes abusive terms prohibited by
HOEPA, including among others: prepayment penalty ($13,000.00), a balloon
payment of entire sum as initially fixed to be made on October, 2008 (term of
loan is less than five years), penalty interest rates upon default, negative
amortization, prepayment of more than two payments from the proceeds of the
loan.


        22. Magic, Roman and Semyon failed to deliver all the “material”
disclosures required by the Truth in Lending Act to Plaintiff in connection with this
transaction. In particular, failed to: deliver all material disclosures required by the
Truth in Lending Act and Regulation Z, including but not limited to a correctly
completed Notice of Right to Cancel as required under 15 U.S.C. § 1635(a) and
Regulation Z § 226.23(b).




        C. FACTS PERTAINING TO PLAINTIFFS’ RESCISSION OF THE
                                  TRANSACTION


        23. Plaintiff, is a consumer within the meaning of the TILA (15 U.S.C. §
1602(h)). The credit extended to Plaintiff by Defendants is for personal, family, or



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household purposes (15 U.S.C. § 1602(h)). The credit transaction was secured
by real estate, where Plaintiff resides, and is a dwelling within the meaning of 15
U.S.C. § 1640(a)(2)(A)(iii). Because of the violations of HOEPA and TILA listed
above, Plaintiffs retained the right to rescind the transaction up to three years
after its consummation.


       24. With the institution of this complaint, Plaintiff hereby rescinds the
impugned transaction.


                             V. CAUSES OF ACTION


                            COUNT I--HOEPA and TILA


       25. Defendants’ lending to Plaintiff based on their collateral, without
regard to their repayment ability, was part of a pattern or practice of such lending
and violates 15 U.S.C. § 1639(h), entitling Plaintiffs to actual and statutory
damages under 15 U.S.C. § 1640(a).


       29. Defendants’ failure to give Plaintiff the disclosures required by
HOEPA three days prior to settlement violates 15 U.S.C. § 1639(a) and (b),
entitling Plaintiffs to actual and statutory damages under 15 U.S.C. § 1640(a) and
extending their right to rescind the transaction until up to three years after its
consummation.


       30. Roman and Semyon’s inclusion of the abusive terms set forth in
Paragraph 21 above violates 15 U.S.C. § 1639, entitling Plaintiffs to actual and
statutory damages under 15 U.S.C. § 1640(a) and extending their right to rescind
the transaction until up to three years after its consummation.


       31. Defendants’ failure to deliver all the material disclosures required by
the Truth in Lending Act to Plaintiffs in connection with the transaction violates 15



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U.S.C. § 1638, entitling Plaintiffs to actual and statutory damages under 15
U.S.C. § 1640(a) and extending their right to rescind the transaction until up to
three years after its consummation.




COUNT II—BREACH OF ORAL CONTRACT—AGAINST ALL DEFENDANTS


32.    Plaintiff re-alleges and incorporate herein by reference each and every
allegation contained in the preceding paragraphs as though fully incorporated
herein and made a part hereof.


33.    The defendants promised and agreed with the plaintiff that in exchange for
valuable consideration they would:


       (a)    Research and investigate plaintiff financial conditions and ability to
              service loan in order to determine which loan would be appropriate
              to her;


       (b)    Provide assistance to plaintiff in locating suitable loan;




       (c)    Explain and advise Plaintiff regarding loan products and significant
              terms of application for loan and the loans themselves to ensure
              that plaintiff obtained a suitable, appropriate and affordable loan;


       (d)    Select for plaintiff an appropriate and affordable loan and fully
              disclose all fees and costs of the loan selected;


       (e)    Act competently and with an appropriate level of skill while
              completing the tasks mentioned above;




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       (f)    Refrain from taking any actions or omitting to act in such a way
              that would harm plaintiff.




34.    Defendants breached the contract, inter alia, by failing to educate plaintiff
regarding loan products by failing to disclose key terms of the loan application
and loan documents by failing to inform plaintiff of the risks associated with
extremely high interest loan, the risk associated with balloon payment, the risk of
foreclosure and the risk that plaintiff would lose her home.


35.    Plaintiff has performed each and every covenant and condition of the
agreements, as well as each and every covenant and condition of the parties
agreements, except for those which defendants prevented plaintiff from
performing, or which were waived or excused by defendants’ breaches and other
misconduct.


COUNT III—BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND
FAIR DEALING –AGAINST ALL DEFENDANTS.


36.           Plaintiff re-alleges and incorporate herein by reference each and
every allegation contained in the preceding paragraphs as though fully
incorporated herein and made a part herein.


37.    All of the agreements between plaintiff and the defendants whether or al
or written, contained an implied convent of good faith and fair dealing which
provided that each party would deal fairly with the other, and that neither party
would do anything to deprive the other party of the benefits of the agreements.


38.    Defendants breached the implied covenant of fair dealing by their conduct,
including but not limited to the following:




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      a.          Deliberately, unjustifiably and unreasonably misleading the plaintiff
           and closing a loan which requires payments far in excess of plaintiff’s
           ability to pay;


      b. Deliberately, unjustifiably and unreasonably misrepresenting to plaintiff
           the effect of pertinent provision in the loan application and loan
           documents so as to trick, confuse, and defraud plaintiff.


      c. Deliberately, unjustifiably and unreasonably failing to adequately
           investigate or perform due diligence regarding plaintiff ability to pay loans;


      d. Falsely professing compliance with applicable anti predatory lending and
           truth in lending requirements;


      e. Utilizing bait and switch tactics to obtain plaintiff signature on documents
           she did not understand;


      f. Instituting and proceeding with improper foreclosure actions, hoping that
           plaintiff would be unable to understand and pursue her rights or would
           become frustrated with pursuing his rights and abandon his claim;


      g. Deliberately, unjustifiably, and unreasonably compelling plaintiff to secure
           attorney to obtain from defendants contractual benefits owed to her in an
           attempt to cause plaintiff to become frustrated and financially crippled so
           that she would not pursue her claims and contract rights; and,


      h. Otherwise improperly taking advantage of plaintiff.


39.        As a proximate result of defendant’s wrongful conduct, plaintiff
unknowingly executed loan documents which obligated her to loan with
payments that far exceeded her gross income; suffered extreme embarrassment,



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frustration, anger and emotional distress; and suffered and will continue to suffer
in the future other damages, in amounts to be shown at the time of trial.


COUNT IV. CONSPIRACY TO DEFRAUD AND TO BREACH FIDUCIARY
DUTY—AGAINST ALL DEFENDANTS.


40.    Plaintiff re-alleges and incorporates by reference each and every
allegation contained in the preceding paragraphs as though fully set forth herein.


41.    Defendants entered into one or more agreements or reached
understanding between and among themselves, the purpose and intent of
which was to perpetrate a fraud and deceit upon plaintiff, and to breach the
fiduciary duties owed to plaintiff. Specifically, defendants knowingly and willfully
conspired to misrepresent and suppress facts related to their intent to obtain
unwarranted fees and to orchestrate a default and foreclosure.


42.     In taking the actions described herein, defendants acted with knowledge
of the fraud and deceit, and of the breach of fiduciary duty that was being
perpetrated upon plaintiff, knowingly participated in and/or substantially assisted
the commission of fraud, deceit and the fiduciary breach described herein and
were aware of their overall contribution to, and furtherance of, the fraud and
breach of fiduciary duty.


43.    As a direct and proximate result of the defendants conspiracy, plaintiff has
been damaged in an amount to be determined at trial.


44.    In doing the acts herein alleged, defendants acted fraudulently, willfully,
maliciously oppressively, and with callous disregard of plaintiff, interest, and
subjected plaintiff to unjust hardship, knowing that their conduct was
substantially likely to vex, annoy and injury plaintiff. As a result of this conduct,
plaintiff is entitled to punitive damages.



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COUNT V INTENTIONAL MISREPRESENTATION


45.   Plaintiff re-alleges and incorporates by reference each and every
allegation contained in the preceding paragraphs as though fully set forth hereof.


46.   Defendants made the following representation to the plaintiff


      a.     That the loan application they prepared was complete and
accurate.


      b.     That the loan package selected is the best in the market.


      c.     That they are the only ones who could get her the best deal.


      d.     That the loan will be easily payable.


47.   The above representation were false. The true facts were.


      a.     The loan application was fictitious papers and they actually never
             prepared her loan application to be submitted to any lender.


      b.     The loan selected was not the best in the market as no sane
             person would have a loan like this and further there was no
             selection or endeavor made to get her a reasonable loan.




      c.     They misled her about their role. They promised to act as her agent
             to get her the best loan, however realizing that the plaintiff is not
             sophisticated and that there was a lien free property which they
             could have, gave her a loan which she could never service.



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       d.      The loan could have never been possibly payable to as it was
               interest only loan, with prepayment penalty and a balloon payment
               of $650,000 at the end of 12th month with APR of 13.5%. The
               plaintiff did not have a job at that point and do not have any now.




48.    When the defendants made these representations, defendants knew
them to be false and the representation were made with the intent to defraud and
deceive the plaintiff, and with the intent to induce plaintiff to act in the manner
herein suggested.




49.     Plaintiff at the time the representation were made, and at the time she
took the actions herein alleged, was ignorant of the falsity of the defendants’
representation and believed them to be true. In reliance on these representation,
plaintiff was induced to sign loan documents without reading them and to enter
into an inappropriate loan transactions containing insurmountable payments and
obligations.


50.    Had plaintiff known the true facts, she would not have taken such action.
Plaintiff reliance on the defendants’ misrepresentation was justified because of
the fiduciary duty owed to her by the brokers, because of the brokers constant
reassurance and because of her belief that defendant were dealing with her
fairly, honestly and in good faith.


51.    As a proximate result of the defendants fraud and deceit, and the facts
alleged herein, plaintiff has been damaged in an amount to be proved at trial.


52.    In doing the acts herein alleged, defendant and each of them, acted
fraudulently, willfully, maliciously, oppressively and with callous and intentional



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disregard of plaintiff’s interest, and subjected plaintiff to severe and unjust
hardship, knowing that their conduct was substantially likely to vex, annoy ands
injure plaintiff. As a result of this conduct, plaintiff is entitled to punitive damages.


COUNT VI--UNFAIR AND DECEPTIVE BUSINESS PRACTICES
N.Y. GEN. BUS. L. § 349




53. Plaintiffs repeat and re-allege the allegations se forth in preceding
paragraphs of this Complaint, as though fully set forth herein.




54. On the basis of the foregoing as delineated in preceding paragraphs,
defendants have engaged and is engaging in consumer-oriented conduct which
is deceptive or misleading in a material way, constituting unfair and deceptive
business practices in violation of § 349 of the N.Y. General Business Law.




55. Defendants mortgage brokers and agent’s false, misleading and deceptive
statements and representations of fact were and are directed to consumers like
the plaintiff.




56. Defendants running of mortage brokerage in the state and promising people
the best of consumer loans is false, misleading and deceptive statements of fact
and are likely to mislead a reasonable consumer acting reasonably under the
circumstances.




57. Defendants mortgage business to get the best loans, false, misleading and
deceptive statements of fact have resulted or are likely to result in consumer



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injury or harm to the public interest.




58.    As a result of defendants’ unfair and deceptive business practices,
Plaintiff has suffered and continue to suffer substantial injury, including
irreparable injury and damages.




COUNT VII--UNJUST ENRICMENT


59.    Plaintiff re-alleges and incorporates by reference each and every
allegation contained in the preceding paragraphs as though fully set forth hereof.


60.    At all times material to this complaint, Defendants by their policies and
action benefited from and increased their profit and personal compensation by
subversively forcing an exorbitantly priced loan and taking an inequitable lien on
her home.


61.    Defendants benefitted immensely from this inequitable loan at an interest
rate of 14.5% (Minimum interest payment of $7730 per month and $6,500
additional fees every month for the loan) without any benefit of reduction of the
mortgage amount. Defendants have been and continue to be unjustly enriched
at plaintiff’s expense, further the loan upon default becomes a usurious liability,
as the interest rate crosses 16% limit.


62.    It is inequitable and unjust for the defendants to reap unauthorized profits
from a loan extended in violations of State and Federal Laws and clear in
violation of New York State Banking Laws ethics.




63.    Plaintiff is entitled to relief for this unjust enrichment in an amount equal to



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the benefits unjustly retained by the defendants, plus interest on these amounts.


COUNT VIII—TORT OF CONVERSION




64.       Plaintiff re-alleges and incorporates by reference each and every
allegation contained in the preceding paragraphs as though fully set forth hereof.




65.       The defendants in violations of Federal and New York States laws
acquired a lien (stock reflecting ownership interest in plaintiff’s home, was
assigned as a collateral for the loan) on the property of the Plaintiff by virtue of
deceit.


66.       The continued assertion of dominion as a lienor is an wrongful exercise of
dominion and deprives the plaintiff the privilege of ownership of her home.


67.       The continued security interest in the stock ownership of plaintiff by the
defendants is a continuation of the act of conversion and as such is unprivileged
interference.


68.       As a direct and proximate result of the defendants wanton and malicious
act and refusal to remove the security interest, plaintiff has been damaged in an
amount to be determined at trial.




COUNT IX—FOR IMPOSITION OF CONSTRUCTIVE TRUST AGAINST ALL
DEFENDANTS.




69.       Plaintiff re-alleges and incorporates by reference each and every



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allegation contained in the preceding paragraphs as though fully set forth hereof.


70.    By engaging the conduct alleged herein, defendants have been unjustly
enriched at the expense, and to the detriment of plaintiff and her improperly
obtained alleged rights, claims or interests in and to plaintiff’s property.


71.    Defendants should be required to disgorge the benefits which they have
obtained at the expense and to the detriment of the plaintiffs and a constructive
trust should be imposed thereon so that defendants, and each of them, have no
legal or equitable right, claim or interest therein but, instead, defendants, and
each of them are involuntary trustee holding said property, proceeds of contract,
money and profits there from in constructive trust for Plaintiff with the duty to
convey the same to plaintiff forthwith.




       WHEREFORE, Plaintiffs pray for the following relief:




A.     pursuant to 15 U.S.C. §§ 1635(a), 1639(j), and 1640(a):


       a.      Rescission of the transaction, including a declaration that the
              Plaintiff is not liable for any finance charges or other charges
              imposed by Defendant;


       b.      A declaration that the security interest in Plaintiffs’ property
              created under the transaction is void, and an order requiring
              Defendants to release such security interest;


       c.      Return of any money or property given by the Plaintiff to anyone,
               including the Defendant, in connection with the transaction;




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       d.    Statutory damages of for TILA violations.


       e.    Additional damages pursuant to 15 U.S.C. § 1640(a)(4) in the
            amount of all finance charges and fees paid by Plaintiffs, for each
            non-disclosure violation;


       f.    An order that, because Defendants are liable for damages under
            State and Federal laws, Plaintiffs have no duty to tender the loan
            proceeds to Defendants, but in the alternative, if tender is required,
            a determination of the amount of the tender obligation in light of all
            of the Plaintiff’s claims, and an order requiring the Defendant to
            accept tender on reasonable terms and over a reasonable period of
            time;


       g.    For compensatory damages in an amount to be determined at
             trial;


       h.   For punitive damages on all applicable claims;


       i.   For Civil Penalities on all applicable claims as provided by law.


       j.   For an order preliminary and permanently enjoining the defendants
            and their representative and agents, and each of them , from
            engaging in unlawful, unfair and deceptive practices and ordering
            restitution.


  i.        Actual damages in an amount to be determined at trial;


  j.        An award of reasonable attorney fee and costs; and




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   k.       Such other relief at law or equity as this Court may deem just and
            proper.




Dated: June 6, 2010
                                      Respectfully submitted,


                                      s/karamvir s. dahiya
                                      _____________________
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                                      New York New York 10012
                                      Tel: 212 766 8000




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